                       Case
                         Case
                            1:23-cv-10925-LLS
                              1:23-cv-10925 Document
                                              Document
                                                     2 6Filed
                                                           Filed
                                                               12/15/23
                                                                 12/18/23Page
                                                                           Page
                                                                              1 of
                                                                                1 of
                                                                                   2 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                     Southern District
                                                    __________ Districtofof
                                                                          New  York
                                                                            __________

    ZHANGJIAGANG JOINUP TRADING CO., LTD                                )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                            Civil Action No.
                                                                        )
 EL TORO CARMESI, LLC, DBA JEBEZ APPAREL,                               )
              DBA FIT 4 U                                               )
                                                                        )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) EL TORO CARMESI, LLC, DBA JEBEZ APPAREL DBA FIT 4 YOU
                                           230 Fifth Ave, Suite 1112,
                                           New York, NY 10001




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Thomas Hsien Chih Kung, Esq.
                                       Jia Law Group, P.C.
                                       88 Pine St. 18th Floor
                                       New York, Ny



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


Date:             12/18/2023                                                                      /s/ J. Gonzalez
                                                                                           Signature of Clerk or Deputy Clerk
                         Case
                           Case
                              1:23-cv-10925-LLS
                                1:23-cv-10925 Document
                                                Document
                                                       2 6Filed
                                                             Filed
                                                                 12/15/23
                                                                   12/18/23Page
                                                                             Page
                                                                                2 of
                                                                                  2 of
                                                                                     2 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
